Dear Director Emerson,
The Attorney General is in receipt of your request for an opinion wherein you ask, in effect:
May a Judge who is drawing from the State Teacher Retirement System andwho on January 13, 1969, became a member of the Uniform JudicialRetirement System for Judges and Justices, draw both Teacher Retirementthat has become vested and from the Uniform Judicial Retirement System?
The statutes dealing with the Judges Retirement System appear in 20 O.S. 1101[20-1101] et seq. (1971).
The pertinent provisions appear below.
20 O.S. 1102 (1971) states in part as follows:
  "Any Justice of the Supreme Court or Judge of the Court of Criminal Appeals, State Industrial Court, Court of Appeals, or District Court, who has not served as a justice or judge of a court of record of the State of Oklahoma or a court that was a court of record of the State of Oklahoma for a period of eight (8) years, and who on January 13, 1969, was a member of the Oklahoma Public Employees Retirement System, or the retirement system of any instrumentality of the state, or the retirement system of any county, shall not be required or permitted to become a member of or participant in, The Uniform Retirement System for Judges and Justices provided for by 20 O.S. 1101 — 20 O.S. 1107, inclusive, unless within ninety (90) days after May 7, 1969, he elected to so become and waived or forfeited any right to which he might have been entitled under the Oklahoma Public Employees Retirement System or the Retirement System of any instrumentality of the state, or of a county, except the right of a refund of his accumulated contributions without interest thereon."
 It is, therefore, the opinion of the Attorney General that a judge witheight (8) years of service prior to January 13, 1969, does not have torelinquish his vested judicial retirement benefits. If, however, hisjudicial service prior to January 13, 1969, was less than eight (8)years, then he has elected between continuing participation in the thenexisting judicial retirement system or, upon waiver of rights to thatsystem, the Uniform Retirement System for Judges and Justices. Electionrequired of such judges does not require forfeiture or waiver of vestedrights in a Teacher Retirement System accrued for non-judicial service.
JAN ERIC CARTWRIGHT, ATTORNEY GENERAL OF OKLAHOMA
STEPHEN F. SHANBOUR, ASSISTANT ATTORNEY GENERAL